   Case: 1:20-cr-00035-MRB Doc #: 16 Filed: 03/05/20 Page: 1 of 5 PAGEID #: 49

                                                                                        filed
                                                                                 RICHARD W. NAREL
                                                                                  CLERK OF COURT
                               UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF OHIO                      imm-5 AH 8:53
                                      WESTERN DIVISION
                                                                                 U.S. DISTRICT COURT
                                                                                 SOUlHtiRN OlST OHIO
 UNITED STATES OF AMERICA,
                                                        CASE NO.         ll                            5
                  Plaintiff,
                                                        JUDGE       J. BARRETT
         vs.

                                                        INDICTMENT
 QUIANA CAMPBELL,
                                                        18 U.S.C. § 1001(a)(2)
                  Defendant.                            26 U.S.C. § 7206(1)

                                                        FORFEITURE ALLEGATION




THE GRAND JURY CHARGES:

                               INTRODUCTORY ALLEGATIONS


        At all times relevant to this Indictment;


        1.     From in or about at least 2008, through and including the present, the defendant,

QUIANA CAMPBELL, has been employed as a police officer with the Cincinnati Police

Department, within the Southern District of Ohio.

        2., Over the course of her more than 10-year term of employment, the defendant,

QUIANA CAMPBELL, received training on the policies and procedures ofthe Cinciimati Police

Department.      At the time of her commission, the defendant, QUIANA CAMPBELL, took an

oath to uphold the United States Constitution, as well as the constitution and laws of the State of

Ohio.


        3.     As an officer with the Cincimrati Police Department, the defendant, QUIANA

CAMPBELL, would he privy to significant information regarding enforcement activities


                                                    1
Case: 1:20-cr-00035-MRB Doc #: 16 Filed: 03/05/20 Page: 2 of 5 PAGEID #: 50
Case: 1:20-cr-00035-MRB Doc #: 16 Filed: 03/05/20 Page: 3 of 5 PAGEID #: 51
Case: 1:20-cr-00035-MRB Doc #: 16 Filed: 03/05/20 Page: 4 of 5 PAGEID #: 52
Case: 1:20-cr-00035-MRB Doc #: 16 Filed: 03/05/20 Page: 5 of 5 PAGEID #: 53
